        Case
        Case1:20-cv-04809-TCB
             1:20-cv-04809-TCB Document
                               Document48
                                        47 Filed
                                           Filed12/03/20
                                                 12/03/20 Page
                                                          Page11of
                                                                 of25
                                                                    1

                           UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                    2211 UNITED STATES COURTHOUSE
                                       75 TED TURNER DRIVE, SW
                                     ATLANTA, GEORGIA 30303-3361
JAMES N. HATTEN                                                                    DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                            404-215-1655
 AND CLERK OF COURT
                                        December 3, 2020

Clerk of Court
U.S. Court of Appeals, Eleventh Circuit
56 Forsyth Street, N.W.
Atlanta, Georgia 30303

       U.S.D.C. No.: 1:20-cv-4809-TCB
       U.S.C.A. No.: 00-00000-00
       In re:        Coreco Jaqan Pearson et al v. Brian Kemp et al

        Enclosed are documents regarding an appeal in this matter. Please acknowledge
receipt on the enclosed copy of this letter.

   X
        Certified Notice of Cross Appeal, Docket Sheet, Judgment and/or Order appealed
        enclosed.

   X    This is not the first notice of appeal. Other notices were filed on: 12/1/20; USCA
        Case No. 20-14480-RR.

        There is no transcript.

   X    The court reporter is Lori Burgess.

        There is sealed material as described below: .

        Other: .

   X    Fee paid electronically on 12/1/20. (Receipt# AGANDC-10445305)

        Appellant has been leave to appeal in forma pauperis.

        This is a bankruptcy appeal. The Bankruptcy Judge is .

        The Magistrate Judge is .

   X    The District Judge is Timothy C. Batten, Sr.

        This is a DEATH PENALTY appeal.

                                                              Sincerely,

                                                              James N. Hatten
                                                              District Court Executive
                                                              and Clerk of Court

                                                        By: /s/P. McClam
                                                            Deputy Clerk
Enclosures



                                                                                                       25
      Case 1:20-cv-04809-TCB Document 48 Filed 12/03/20 Page 2 of 25


                                                                        4months,APPEAL,SUBMDJ
                              U.S. District Court
                     Northern District of Georgia (Atlanta)
               CIVIL DOCKET FOR CASE #: 1:20−cv−04809−TCB

Pearson et al v. Kemp et al                                Date Filed: 11/25/2020
Assigned to: Judge Timothy C. Batten, Sr.                  Jury Demand: None
Case in other court: USCA− 11th Circuit, 20−14480−RR       Nature of Suit: 441 Civil Rights: Voting
Cause: 42:1983 Civil Rights Act                            Jurisdiction: Federal Question
Plaintiff
Coreco Jaqan Pearson                         represented by Harry W. MacDougald
                                                            Caldwell Propst & DeLoach, LLP
                                                            Suite 1600
                                                            Two Ravina Dr.
                                                            Atlanta, GA 30346
                                                            404−843−1956
                                                            Fax: 404−843−2737
                                                            Email: hmacdougald@cpdlawyers.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                          Howard Kleinhendler
                                                          Howard Kleinhendler Esquire
                                                          369 Lexington Avenue
                                                          12th Floor
                                                          New York, NY 10017
                                                          917−793−1188
                                                          Fax: 732−901−0832
                                                          Email: howard@kleinhendler.com
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Julia Z. Haller
                                                          Defending the Republic
                                                          601 Pennsylvania Ave, NW
                                                          South Building
                                                          Ste 900
                                                          Washington, DC 20004
                                                          561−888−3166
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          L. Lin Wood , Jr.
                                                          L. Lin Wood, P.C.
                                                          P.O. Box 52584
                                                          Atlanta, GA 30355−0584
                                                          404−891−1402


                                                                                                      1
       Case 1:20-cv-04809-TCB Document 48 Filed 12/03/20 Page 3 of 25


                                                 Fax: 404−506−9111
                                                 Email: lwood@linwoodlaw.com
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

Plaintiff
Vikki Townsend Consiglio             represented by Harry W. MacDougald
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Howard Kleinhendler
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Julia Z. Haller
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 L. Lin Wood , Jr.
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

Plaintiff
Gloria Kay Godwin                    represented by Harry W. MacDougald
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Howard Kleinhendler
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Julia Z. Haller
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 L. Lin Wood , Jr.
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED



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       Case 1:20-cv-04809-TCB Document 48 Filed 12/03/20 Page 4 of 25


Plaintiff
James Kenneth Carroll                represented by Harry W. MacDougald
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Howard Kleinhendler
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Julia Z. Haller
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 L. Lin Wood , Jr.
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

Plaintiff
Carolyn Hall Fisher                  represented by Harry W. MacDougald
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Howard Kleinhendler
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Julia Z. Haller
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 L. Lin Wood , Jr.
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

Plaintiff
Cathleen Alston Latham               represented by Harry W. MacDougald
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

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       Case 1:20-cv-04809-TCB Document 48 Filed 12/03/20 Page 5 of 25




                                                         Howard Kleinhendler
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Julia Z. Haller
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         L. Lin Wood , Jr.
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
Brian Jay Van Gundy                       represented by Harry W. MacDougald
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Howard Kleinhendler
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Julia Z. Haller
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         L. Lin Wood , Jr.
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED


V.
Defendant
Brian Kemp                                represented by Charlene S McGowan
in his official capacity as Governor of                  Office of the Georgia Attorney General
Georgia                                                  Assistant Attorney General
                                                         40 Capitol Square SW
                                                         Atlanta, GA 30334
                                                         404−458−3658
                                                         Email: cmcgowan@law.ga.gov

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        Case 1:20-cv-04809-TCB Document 48 Filed 12/03/20 Page 6 of 25


                                                             ATTORNEY TO BE NOTICED

                                                             Russell D. Willard
                                                             Attorney General's Office−Atl
                                                             Department of Law
                                                             40 Capitol Square, SW
                                                             Atlanta, GA 30334
                                                             404−656−3300
                                                             Email: rwillard@law.ga.gov
                                                             ATTORNEY TO BE NOTICED

Defendant
Brad Raffensperger                            represented by Charlene S McGowan
in his official capacity as Secretary of                     (See above for address)
State and Chair of the Georgia State                         ATTORNEY TO BE NOTICED
Election Board
                                                             Russell D. Willard
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Defendant
David J. Worley                               represented by Charlene S McGowan
in his official capacity as a member of the                  (See above for address)
Georgia State Election Board                                 ATTORNEY TO BE NOTICED

                                                             Russell D. Willard
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Defendant
Rebecca N. Sullivan                           represented by Charlene S McGowan
in her official capacity as a member of                      (See above for address)
the Georgia State Election Board                             ATTORNEY TO BE NOTICED

                                                             Russell D. Willard
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Defendant
Matthew Mashburn                              represented by Charlene S McGowan
in his official capacity as a member of the                  (See above for address)
Georgia State Election Board                                 ATTORNEY TO BE NOTICED

                                                             Russell D. Willard
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Defendant
Anh Le                                        represented by Charlene S McGowan
in her official capacity as a member of                      (See above for address)

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       Case 1:20-cv-04809-TCB Document 48 Filed 12/03/20 Page 7 of 25


the Georgia State Election Board                   ATTORNEY TO BE NOTICED

                                                   Russell D. Willard
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED


V.
Intervenor Defendant
Democratic Party of Georgia, Inc.    represented by Amanda J. Beane
                                                    Perkins Coie−WA
                                                    1201 Third Avenue
                                                    48th Floor
                                                    Seattle, WA 98101−3099
                                                    206−359−3965
                                                    Email: abeane@perkinscoie.com
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                   Amanda R. Callais
                                                   Perkins Coie−DC
                                                   Suite 600
                                                   700 Thirteenth St., N.W.
                                                   Washington, DC 20005−2011
                                                   202−654−6396
                                                   Email: acallais@perkinscoie.com
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Halsey G. Knapp , Jr
                                                   Krevolin & Horst, LLC
                                                   One Atlantic Center, Ste 3250
                                                   1201 West Peachtree St., NW
                                                   Atlanta, GA 30309
                                                   404−888−9700
                                                   Fax: 404−888−9577
                                                   Email: hknapp@khlawfirm.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Joyce Gist Lewis
                                                   Krevolin & Horst, LLC
                                                   1201 W. Peachtree Street, NW
                                                   Suite 3250
                                                   Atlanta, GA 30309
                                                   404−888−9700
                                                   Email: jlewis@khlawfirm.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED


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Case 1:20-cv-04809-TCB Document 48 Filed 12/03/20 Page 8 of 25




                                          Kevin J. Hamilton
                                          Perkins Coie LLP
                                          1201 Third Avenue
                                          Suite 4900
                                          Seattle, WA 98101−3099
                                          206−359−8741
                                          Email: khamilton@perkinscoie.com
                                          LEAD ATTORNEY
                                          PRO HAC VICE
                                          ATTORNEY TO BE NOTICED

                                          Marc E. Elias
                                          Perkins Coie LLP
                                          700 13th St NW
                                          Ste 800
                                          Washington, DC 20005
                                          202−654−6200
                                          Email: melias@perkinscoie.com
                                          LEAD ATTORNEY
                                          PRO HAC VICE
                                          ATTORNEY TO BE NOTICED

                                          Matthew Joseph Mertens
                                          Perkins Coie
                                          1120 N.W. Couch, 10th Floor
                                          Portland, OR 97209
                                          503−727−2199
                                          Fax: 503−346−2199
                                          Email: mmertens@perkinscoie.com
                                          LEAD ATTORNEY
                                          PRO HAC VICE
                                          ATTORNEY TO BE NOTICED

                                          Susan Coppedge
                                          Office of the United States
                                          Attorney−ATL600
                                          Northern District of Georgia
                                          600 United States Courthouse
                                          75 Ted Turner Dr., S.W.
                                          Atlanta, GA 30303
                                          404−581−6250
                                          Email: susan.coppedge@usdoj.gov
                                          (Inactive)
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED

                                          Adam Martin Sparks
                                          Krevolin & Horst, LLC
                                          One Atlantic Center, Ste 3250
                                          1201 West Peachtree St., NW
                                          Atlanta, GA 30309


                                                                             7
       Case 1:20-cv-04809-TCB Document 48 Filed 12/03/20 Page 9 of 25


                                                 404−888−9700
                                                 Email: sparks@khlawfirm.com
                                                 ATTORNEY TO BE NOTICED

Intervenor Defendant
DSCC                                 represented by Amanda J. Beane
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED

                                                 Amanda R. Callais
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Halsey G. Knapp , Jr
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Joyce Gist Lewis
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Kevin J. Hamilton
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Marc E. Elias
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Matthew Joseph Mertens
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Susan Coppedge
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Adam Martin Sparks
                                                 (See above for address)

                                                                               8
     Case 1:20-cv-04809-TCB Document 48 Filed 12/03/20 Page 10 of 25


                                                ATTORNEY TO BE NOTICED

Intervenor Defendant
DCCC                                represented by Amanda J. Beane
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                Amanda R. Callais
                                                (See above for address)
                                                LEAD ATTORNEY
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Halsey G. Knapp , Jr
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Joyce Gist Lewis
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Kevin J. Hamilton
                                                (See above for address)
                                                LEAD ATTORNEY
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Marc E. Elias
                                                (See above for address)
                                                LEAD ATTORNEY
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Matthew Joseph Mertens
                                                (See above for address)
                                                LEAD ATTORNEY
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Susan Coppedge
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Adam Martin Sparks
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED


                                                                             9
     Case 1:20-cv-04809-TCB Document 48 Filed 12/03/20 Page 11 of 25




Date Filed   #   Page Docket Text
11/25/2020   1        COMPLAINT for Declaratory, Emergency, and Permanent Injunctive Relief,
                      filed by Gloria Kay Godwin, Vikki Townsend Consiglio, Coreco Jaqan Pearson,
                      James Kenneth Carroll, Carolyn Hall Fisher, Cathleen Alston Latham, Brian Jay
                      Van Gundy. (Filing fee $400, receipt number AGANDC−10418604)
                      (Attachments: # 1 Exhibit Affidavit Exh. 1, Report of William Briggs, # 2
                      Exhibit Affidavit Redacted Affidavit, # 3 Exhibit Affidavit of Anna Mercedes
                      Diaz Cardozo, # 4 Exhibit Affidavit Declaration of Harri Hursti, # 5 Exhibit
                      Affidavit Embedded Declaration of Harri Hursti, # 6 Exhibit Exhibit SoS
                      Certification of Dominion Voting Systems Democracy Suite 5.5−A, # 7 Exhibit
                      Exhibit Pro V&V Test Report, # 8 Exhibit Exhibit Study "Ballot−Marking
                      Devices (BMDs) Cannot Assure the Will of the, # 9 Exhibit Affidavit Redacted
                      Affidavit of Cyber−Security Expert, # 10 Exhibit Affidavit Affidavit of Russell
                      Ramsland, # 11 Exhibit Affidavit of Mayra Romera, # 12 Exhibit Affidavit of
                      Maria Diedrich, # 13 Exhibit Affidavit of Maria Diedrich, # 14 Exhibit Affidavit
                      of Ursula Wolf, # 15 Exhibit Affidavit of Nicholas J. Zeher, # 16 Exhibit
                      Affidavit of Susan Voyles, # 17 Exhibit Affidavit of Ibrahim Reyes, # 18
                      Exhibit Affidavit of Consetta Johnson, # 19 Exhibit Affidavit of Carlos Silva, #
                      20 Exhibit Affidavit of Andrea O'Neal, # 21 Exhibit Affidavit of Deborah
                      Fisher, # 22 Exhibit Affidavit of Kevin Peterford, # 23 Exhibit Report of Texas
                      Secretary of State Rejecting Dominion Voting Systems, # 24 Exhibit Letter of
                      Rep. Maloney to Smarmatic, # 25 Exhibit Affidavit of Juan Carlos Cobucci, #
                      26 Exhibit Senator Warren et al letter re: Dominion Voting Systems, # 27
                      Exhibit Affidavit of of Eric Quinnell, # 28 Exhibit Affidavit of Mitchell
                      Harrison, # 29 Exhibit Affidavit of Michelle Branton, # 30 Civil Cover
                      Sheet)(rvb) Please visit our website at
                      http://www.gand.uscourts.gov/commonly−used−forms to obtain Pretrial
                      Instructions and Pretrial Associated Forms which includes the Consent To
                      Proceed Before U.S. Magistrate form. Modified on 11/27/2020 to add relief text
                      (rvb). (Entered: 11/27/2020)
11/27/2020   2        EIGHTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                      OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                      COVID−19 AND RELATED CORONAVIRUS. Signed by Judge Thomas W.
                      Thrash, Jr. on 09/28/2020. (rvb) (Entered: 11/27/2020)
11/27/2020            Submission of 1 Complaint, to District Judge Timothy C. Batten Sr. (rvb)
                      (Entered: 11/27/2020)
11/27/2020   3        PROPOSED SUMMONS filed by James Kenneth Carroll, Vikki Townsend
                      Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham,
                      Coreco Jaqan Pearson, Brian Jay Van Gundy (Attachments: # 1 Summons
                      Proposed Summons for Anh Le, # 2 Summons Proposed Summons for Matthew
                      Mashburn, # 3 Summons Proposed Summons for Brad Raffensberger, # 4
                      Summons Proposed Summons for Rebecca N. Sullivan, # 5 Summons Proposed
                      Summons for David J. Worley, # 6 Summons Proposed Summons for Brian
                      Kemp)(MacDougald, Harry) (Entered: 11/27/2020)
11/27/2020   4        Certificate of Interested Persons by James Kenneth Carroll, Vikki Townsend
                      Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham,
                      Coreco Jaqan Pearson, Brian Jay Van Gundy. (MacDougald, Harry) (Entered:


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    Case 1:20-cv-04809-TCB Document 48 Filed 12/03/20 Page 12 of 25



                  11/27/2020)
11/27/2020    5   MOTION for Leave to File Matters Under Seal re: 1 Complaint,,,,,,,, with Brief
                  In Support by James Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall
                  Fisher, Gloria Kay Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson,
                  Brian Jay Van Gundy. (Attachments: # 1 Exhibit Redacted Exh. 2 from
                  Complaint, # 2 Exhibit Redacted Exh.8 from the Complaint, # 3 Exhibit Exh. A,
                  Joint Cybersecurity Advisory Iranian Advanced Persistent Threat Actor
                  Identified Obtaining Voter Registration Data, # 4 Text of Proposed Order
                  Proposed Order)(MacDougald, Harry) (Entered: 11/27/2020)
11/27/2020    6   MOTION for Temporary Restraining Order IMMEDIATE HEARING
                  REQUESTED, MOTION for Preliminary Injunction with Brief In Support by
                  James Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall Fisher, Gloria
                  Kay Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson, Brian Jay Van
                  Gundy. (Attachments: # 1 Affidavit Declaration of Dr. Shiva Ayyadurai, # 2
                  Exhibit Joint CyberSecurity Advisory Exhibit, # 3 Text of Proposed
                  Order)(MacDougald, Harry) (Entered: 11/27/2020)
11/29/2020    7   NOTICE Of Filing Emergency Injunctive Relief by James Kenneth Carroll,
                  Vikki Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen
                  Alston Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy re 6 MOTION for
                  Temporary Restraining Order IMMEDIATE HEARING REQUESTED
                  MOTION for Preliminary Injunction (Attachments: # 1 Affidavit Redacted
                  Declaration)(MacDougald, Harry) (Entered: 11/29/2020)
11/29/2020    8   Electronic Summons Issued as to Rebecca N. Sullivan. (rsh) (Entered:
                  11/29/2020)
11/29/2020    9   Electronic Summons Issued as to Matthew Mashburn. (rsh) (Entered:
                  11/29/2020)
11/29/2020   10   Electronic Summons Issued as to David J. Worley. (rsh) (Entered: 11/29/2020)
11/29/2020   11   Electronic Summons Issued as to Brian Kemp. (rsh) (Entered: 11/29/2020)
11/29/2020   12   Electronic Summons Issued as to Brad Raffensperger. (rsh) (Entered:
                  11/29/2020)
11/29/2020   13   Electronic Summons Issued as to Anh Le. (rsh) (Entered: 11/29/2020)
11/29/2020   14   ORDER. Please see Order for further specifics and details. Signed by Judge
                  Timothy C. Batten, Sr. on 11/29/2020. (usw) (Entered: 11/29/2020)
11/29/2020   18   Minute Entry for proceedings held before Judge Timothy C. Batten, Sr.:
                  Telephone Conference via ZOOM held on 11/29/2020 re briefing, scheduling,
                  and Plaintiff's request to forensically inspect county voting machines. (Court
                  Reporter Lori Burgess)(dmb) (Entered: 11/30/2020)
11/30/2020   15   1292(b) ORDER − Please see order for specifics and details. Signed by Judge
                  Timothy C. Batten, Sr. on 11/30/2020. (usw) (Entered: 11/30/2020)
11/30/2020   16   NOTICE of Appearance by Charlene S McGowan on behalf of Brian Kemp,
                  Anh Le, Matthew Mashburn, Brad Raffensperger, Rebecca N. Sullivan, David J.
                  Worley (McGowan, Charlene) (Entered: 11/30/2020)
11/30/2020   17

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                  ORDER Setting Hearing on Motion 6 MOTION for Temporary Restraining
                  Order IMMEDIATE HEARING REQUESTED and MOTION for Preliminary
                  Injunction : Motion Hearing set for 12/4/2020 at 10:00 AM in ATLA Courtroom
                  2106 before Judge Timothy C. Batten Sr. The Court sets the following schedule:
                  Defendants' brief in opposition to the claims in Plaintiffs' complaint will be due
                  on 12/2/2020, by 5:00 p.m. EST. Any reply brief will be due 12/3/2020 by 5:00
                  p.m. EST. Signed by Judge Timothy C. Batten, Sr. on 11/30/2020. (dmb)
                  (Entered: 11/30/2020)
11/30/2020   19   APPLICATION for Admission of Howard Kleinhendler Pro Hac Vice
                  (Application fee $ 150, receipt number AGANDC−10426686).by James
                  Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay
                  Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy.
                  (MacDougald, Harry) Documents for this entry are not available for viewing
                  outside the courthouse. (Entered: 11/30/2020)
11/30/2020        APPROVAL by Clerks Office re: 19 APPLICATION for Admission of Howard
                  Kleinhendler Pro Hac Vice (Application fee $ 150, receipt number
                  AGANDC−10426686).. Attorney Howard Kleinhendler added appearing on
                  behalf of James Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall
                  Fisher, Gloria Kay Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson,
                  Brian Jay Van Gundy (nmb) (Entered: 11/30/2020)
11/30/2020   20   MOTION to Intervene with Brief In Support by Democratic Party of Georgia,
                  Inc., DSCC, DCCC. (Attachments: # 1 Exhibit A: Proposed Intervenors'
                  Proposed Motion to Dismiss, # 2 Exhibit B: Proposed Intervenors' Brief in
                  Support of Proposed Motion to Dismiss, # 3 Exhibit C: Proposed Intervenors'
                  Proposed Answer to Complaint)(Sparks, Adam) (Entered: 11/30/2020)
11/30/2020   21   NOTICE of Appearance by Russell D. Willard on behalf of Brian Kemp, Anh
                  Le, Matthew Mashburn, Brad Raffensperger, Rebecca N. Sullivan, David J.
                  Worley (Willard, Russell) (Entered: 11/30/2020)
11/30/2020   22   AMENDED 1292(b) ORDER − Please see order for specifics and details.
                  Signed by Judge Timothy C. Batten, Sr. on 11/30/2020. (dmb) (Entered:
                  11/30/2020)
11/30/2020        MINUTE ORDER granting Howard Kleinhendler's 19 Application for
                  Admission Pro Hac Vice. Entered by CRD at the direction of Judge Timothy C.
                  Batten, Sr. If the applicant does not have CM/ECF access in the Northern
                  District of Georgia already, they must request access at http://pacer.gov. If they
                  have electronically filed in this district in a previous case, please omit this
                  step.(usw) (Entered: 11/30/2020)
11/30/2020        Clerks Notation re 4 Certificate of Interested Persons. Reviewed and approved
                  by Judge Timothy C. Batten, Sr. (usw) (Entered: 11/30/2020)
11/30/2020   23   TRANSCRIPT of Proceedings held on 11/29/2020, before Judge Timothy C.
                  Batten, Sr.. Court Reporter/Transcriber Lori Burgess. A full directory of court
                  reporters and their contact information can be found at
                  www.gand.uscourts.gov/directory−court−reporters. Transcript may be viewed at
                  the court public terminal or purchased through the Court Reporter/Transcriber
                  before the deadline for Release of Transcript Restriction. After that date it may
                  be obtained through PACER. Redaction Request due 12/21/2020. Redacted
                  Transcript Deadline set for 12/31/2020. Release of Transcript Restriction set for

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                  3/1/2021. (Attachments: # 1 Notice of Filing Transcript) (llb) (Entered:
                  11/30/2020)
11/30/2020   24   APPLICATION for Admission of Julia Z. Haller Pro Hac Vice (Application fee
                  $ 150, receipt number AGANDC−10429766).by James Kenneth Carroll, Vikki
                  Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston
                  Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy. (MacDougald, Harry)
                  Documents for this entry are not available for viewing outside the courthouse.
                  (Entered: 11/30/2020)
12/01/2020   25   Certificate of Interested Persons by DCCC, DSCC, Democratic Party of
                  Georgia, Inc.. (Sparks, Adam) (Entered: 12/01/2020)
12/01/2020        Clerks Notation re 25 Certificate of Interested Persons. Reviewed and approved
                  by Judge Timothy C. Batten, Sr. (usw) (Entered: 12/01/2020)
12/01/2020   26   APPLICATION for Admission of Amanda J. Beane Pro Hac Vice (Application
                  fee $ 150, receipt number AGANDC−10432164).by DCCC, DSCC, Democratic
                  Party of Georgia, Inc.. (Sparks, Adam) Documents for this entry are not
                  available for viewing outside the courthouse. (Entered: 12/01/2020)
12/01/2020   27   APPLICATION for Admission of Amanda R. Callais Pro Hac Vice (Application
                  fee $ 150, receipt number AGANDC−10432211).by DCCC, DSCC, Democratic
                  Party of Georgia, Inc.. (Sparks, Adam) Documents for this entry are not
                  available for viewing outside the courthouse. (Entered: 12/01/2020)
12/01/2020   28   APPLICATION for Admission of Kevin J. Hamilton Pro Hac Vice (Application
                  fee $ 150, receipt number AGANDC−10432219).by DCCC, DSCC, Democratic
                  Party of Georgia, Inc.. (Sparks, Adam) Documents for this entry are not
                  available for viewing outside the courthouse. (Entered: 12/01/2020)
12/01/2020   29   APPLICATION for Admission of Marc E. Elias Pro Hac Vice (Application fee
                  $ 150, receipt number AGANDC−10432230).by DCCC, DSCC, Democratic
                  Party of Georgia, Inc.. (Sparks, Adam) Documents for this entry are not
                  available for viewing outside the courthouse. (Entered: 12/01/2020)
12/01/2020   30   APPLICATION for Admission of Matthew Mertens Pro Hac Vice (Application
                  fee $ 150, receipt number AGANDC−10432239).by DCCC, DSCC, Democratic
                  Party of Georgia, Inc.. (Sparks, Adam) Documents for this entry are not
                  available for viewing outside the courthouse. (Entered: 12/01/2020)
12/01/2020        APPROVAL by Clerks Office re: 24 APPLICATION for Admission of Julia Z.
                  Haller Pro Hac Vice (Application fee $ 150, receipt number
                  AGANDC−10429766).. Attorney Julia Z. Haller added appearing on behalf of
                  James Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall Fisher, Gloria
                  Kay Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson, Brian Jay Van
                  Gundy (nmb) (Entered: 12/01/2020)
12/01/2020   31   NOTICE Of Filing by James Kenneth Carroll, Vikki Townsend Consiglio,
                  Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham, Coreco
                  Jaqan Pearson, Brian Jay Van Gundy (Attachments: # 1 Affidavit Declaration of
                  Ronald Watkins)(MacDougald, Harry) (Entered: 12/01/2020)
12/01/2020   32   NOTICE OF APPEAL as to 14 Order by James Kenneth Carroll, Vikki
                  Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston
                  Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy. Filing fee $ 505, receipt

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                  number AGANDC−10432999. Transcript Order Form due on 12/15/2020
                  (MacDougald, Harry) Modified on 12/2/2020 to correct filing fee amount (pjm).
                  (Entered: 12/01/2020)
12/01/2020   33   NOTICE Of Filing NOA Transmittal Letter re: 32 Notice of Appeal. (pjm)
                  (Entered: 12/01/2020)
12/01/2020   34   Transmission of Certified Copy of Notice of Appeal, USCA Appeal Fees, Order
                  and Docket Sheet to US Court of Appeals re: 32 Notice of Appeal. (pjm)
                  (Entered: 12/01/2020)
12/01/2020   35   AMENDED ANSWER to Complaint (Proposed) of Proposed
                  Intervenor−Defendants by DCCC, DSCC, Democratic Party of Georgia, Inc..
                  (Sparks, Adam) (Entered: 12/01/2020)
12/01/2020   36   USCA Acknowledgment of 32 Notice of Appeal, filed by Cathleen Alston
                  Latham, James Kenneth Carroll, Carolyn Hall Fisher, Coreco Jaqan Pearson,
                  Brian Jay Van Gundy, Gloria Kay Godwin and Vikki Townsend Consiglio. Case
                  Appealed to USCA− 11th Circuit. Case Number 20−14480−RR. (pjm) (Entered:
                  12/01/2020)
12/01/2020   37   ORDER STAYING 17 Order Setting Hearing on Motion. Signed by Judge
                  Timothy C. Batten, Sr. on 12/01/2020. (usw) (Entered: 12/01/2020)
12/02/2020        MINUTE ORDER granting Julia Z. Haller's 24 Application for Admission Pro
                  Hac Vice. Entered by CRD at the direction of Judge Timothy C. Batten, Sr. If
                  the applicant does not have CM/ECF access in the Northern District of Georgia
                  already, they must request access at http://pacer.gov. If they have electronically
                  filed in this district in a previous case, please omit this step.(usw) (Entered:
                  12/02/2020)
12/02/2020        APPROVAL by Clerks Office re: 26 APPLICATION for Admission of Amanda
                  J. Beane Pro Hac Vice (Application fee $ 150, receipt number
                  AGANDC−10432164).. Attorney Amanda J. Beane added appearing on behalf
                  of DCCC, DSCC, Democratic Party of Georgia, Inc. (nmb) (Entered:
                  12/02/2020)
12/02/2020        APPROVAL by Clerks Office re: 27 APPLICATION for Admission of Amanda
                  R. Callais Pro Hac Vice (Application fee $ 150, receipt number
                  AGANDC−10432211).. Attorney Amanda R. Callais added appearing on behalf
                  of DCCC, DSCC, Democratic Party of Georgia, Inc. (nmb) (Entered:
                  12/02/2020)
12/02/2020        APPROVAL by Clerks Office re: 28 APPLICATION for Admission of Kevin J.
                  Hamilton Pro Hac Vice (Application fee $ 150, receipt number
                  AGANDC−10432219).. Attorney Kevin J. Hamilton added appearing on behalf
                  of DCCC, DSCC, Democratic Party of Georgia, Inc. (nmb) (Entered:
                  12/02/2020)
12/02/2020        APPROVAL by Clerks Office re: 29 APPLICATION for Admission of Marc E.
                  Elias Pro Hac Vice (Application fee $ 150, receipt number
                  AGANDC−10432230).. Attorney Marc E. Elias added appearing on behalf of
                  DCCC, DSCC, Democratic Party of Georgia, Inc. (nmb) (Entered: 12/02/2020)
12/02/2020        APPROVAL by Clerks Office re: 30 APPLICATION for Admission of
                  Matthew Mertens Pro Hac Vice (Application fee $ 150, receipt number

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                  AGANDC−10432239).. Attorney Matthew Joseph Mertens added appearing on
                  behalf of DCCC, DSCC, Democratic Party of Georgia, Inc. (nmb) (Entered:
                  12/02/2020)
12/02/2020   38   RESPONSE in Opposition re 20 MOTION to Intervene filed by James Kenneth
                  Carroll, Vikki Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin,
                  Cathleen Alston Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy.
                  (MacDougald, Harry) (Entered: 12/02/2020)
12/02/2020   39   USCA Order: Appellants' "Emergency Motion for expedited briefing schedule
                  and Review" filed by Appellants Coreco Ja'Qan Pearson, Vikki Townsend
                  Consiglio, Gloria Kay Godwin, James Kenneth Carroll, Carolyn Hall Fisher,
                  Cathleen Alston Latham and Brian Jay Van Gundy is GRANTED re: 32 Notice
                  of Appeal, filed by Cathleen Alston Latham, James Kenneth Carroll, Carolyn
                  Hall Fisher, Coreco Jaqan Pearson, Brian Jay Van Gundy, Gloria Kay Godwin
                  and Vikki Townsend Consiglio. Case Appealed to USCA− 11th Circuit. Case
                  Number 20−14480−RR. (pjm) (Entered: 12/02/2020)
12/02/2020   40   ORDER POSTPONING this Court's December 4th hearing, until further order
                  of the Court. Signed by Judge Timothy C. Batten, Sr. on 12/02/2020. (usw)
                  (Entered: 12/02/2020)
12/02/2020   41   Emergency MOTION to Intervene by DCCC, DSCC, Democratic Party of
                  Georgia, Inc.. (Callais, Amanda) (Entered: 12/02/2020)
12/03/2020   42   ORDER granting 20 Motion to Intervene; 41 Emergency Motion to Intervene by
                  The Democratic Party of Georgia, the DSCC and the DCCC. The Clerk is
                  directed to add these entities as parties and to docket their proposed motion to
                  dismiss [20−1], brief in support of motion to dismiss [20−2], and answer [20−3].
                  Signed by Judge Timothy C. Batten, Sr. on 12/3/20. (rsh) (Entered: 12/03/2020)
12/03/2020   43   MOTION to Dismiss by DCCC, DSCC, Democratic Party of Georgia, Inc.
                  (Attachments: # 1 Brief in Support)(rsh) (Entered: 12/03/2020)
12/03/2020   44   ANSWER to COMPLAINT by DCCC, DSCC, Democratic Party of Georgia,
                  Inc. Discovery ends on 5/3/2021.(rsh) Please visit our website at
                  http://www.gand.uscourts.gov to obtain Pretrial Instructions. (Entered:
                  12/03/2020)
12/03/2020   45   NOTICE Of Filing Evidence by James Kenneth Carroll, Vikki Townsend
                  Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham,
                  Coreco Jaqan Pearson (Attachments: # 1 Exhibit Expert Report of Matthew
                  Braynard, # 2 Affidavit Declaration of Eric Quinnell, Ph.D. and S. Stanley
                  Young, Ph.D., # 3 Affidavit Affidavit of Benjamin O. Overholt,
                  Ph.D.)(MacDougald, Harry) (Entered: 12/03/2020)
12/03/2020        MINUTE ORDER granting Amanda J. Beane {26], Amanda R. Callais 27 ,
                  Kevin J. Hamilton 28 , Mark E. Elias 29 , and Matthew Mertens's 30
                  Application for Admission Pro Hac Vice. Entered by CRD at the direction of
                  Judge Timothy C. Batten, Sr. If the applicant does not have CM/ECF access in
                  the Northern District of Georgia already, they must request access at
                  http://pacer.gov. If they have electronically filed in this district in a previous
                  case, please omit this step.(usw) (Entered: 12/03/2020)
12/03/2020   46


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                  NOTICE OF CROSS APPEAL as to 14 Order by Brian Kemp, Anh Le,
                  Matthew Mashburn, Brad Raffensperger, Rebecca N. Sullivan, David J. Worley.
                  Filing fee $ 505, receipt number AGANDC−10445305. Transcript Order Form
                  due on 12/14/2020 (McGowan, Charlene) (Entered: 12/03/2020)
12/03/2020   47   NOTICE Of Filing NOA Transmittal Letter re: 46 Notice of Cross Appeal.
                  (pjm) (Entered: 12/03/2020)




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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



CORECO JA’QAN PEARSON,
VIKKI TOWNSEND
CONSIGLIO; GLORIA KAY
GODWIN; JAMES KENNETH
CARROLL; CAROLYN HALL
FISHER; CATHLEEN ALSTON
LATHAM; and BRIAN JAY VAN
GUNDY,

      Plaintiffs,
                                          CIVIL ACTION FILE
v.
                                          NO. 1:20-cv-4809-TCB
BRIAN KEMP; BRAD
RAFFENSPERGER; DAVID J.
WORLEY; REBECCA N.
SULLIVAN; MATTHEW
MASHBURN; and ANH LE,

      Defendants.



                                ORDER

     Plaintiffs have filed an emergency motion [6] for temporary

injunctive relief. In their motion, Plaintiffs seek an order directing

Defendants to allow Plaintiffs’ expert(s) to inspect the Dominion voting



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machines in Cobb, Gwinnett, and Cherokee Counties. The Court

conducted a Zoom hearing at 7:45 p.m. EST to consider Plaintiffs’

motion.

     During the hearing, Defendants’ counsel argued that the secretary

of state has no lawful authority over county election officials, citing

Jacobson v. Florida Secretary of State, 974 F.3d 1236, 1256–58 (11th

Cir. 2020). Plaintiffs’ counsel responded that Plaintiffs could amend

their complaint to add the elections officials in Cobb, Gwinnett, and

Cherokee Counties, thus obviating the issue of whether the proper

officials had been named as Defendants to this case.

     Defendants’ counsel also argued that allowing such forensic

inspections would pose substantial security and proprietary/trade secret

risks to Defendants. Plaintiffs’ counsel responded that Defendants’

concerns could be alleviated by an order from the Court (1) allowing

Defendants’ own expert(s) to participate in the requested inspections,

which would be video-recorded, and (2) directing the experts to provide

whatever information they obtain to the Court—and no one else—for an

in camera inspection.

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     After considering the parties’ email submissions today and the

arguments advanced at the Zoom hearing, it is hereby ORDERED,

ADJUDGED and DECREED as follows:

                                      1.

     Defendants shall have until Wednesday, December 2, at 5:00 p.m.

EST, to file a brief setting forth in detail the factual bases they have, if

any, against allowing the three forensic inspections. The brief should be

accompanied and supported by affidavit or other evidence, if

appropriate.

                                      2.

     Defendants are hereby ENJOINED and RESTRAINED from

altering, destroying, or erasing, or allowing the alteration, destruction,

or erasure of, any software or data on any Dominion voting machine in

Cobb, Gwinnett, and Cherokee Counties.

                                      3.

     Defendants are ORDERED to promptly produce to Plaintiffs a

copy of the contract between the State and Dominion.




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                                      4.

     This temporary restraining order shall remain in effect for ten

days, or until further order of the Court, whichever comes first.

     IT IS SO ORDERED this 29th day of November, 2020, at 10:10

p.m. EST.



                                   ____________________________________
                                   Timothy C. Batten, Sr.
                                   United States District Judge




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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 CORECO JA’QAN PEARSON, et al.,                )
                                               )
       Plaintiffs,                             )
                                               ) CIVIL ACTION NO.
 v.                                            ) 1:20-cv-4809-TCB
                                               )
 BRIAN KEMP, et al.,                           )
                                               )
       Defendants.                             )

  STATE DEFENDANTS’ NOTICE OF PROTECTIVE CROSS-APPEAL

      Defendants Governor Brian Kemp, Secretary of State Brad Raffensperger,

and State Election Board Members Rebecca Sullivan, David Worley, Matthew

Mashburn, and Anh Le (collectively, “State Defendants”) hereby give notice of their

protective cross-appeal to the U.S. Court of Appeals for the Eleventh Circuit of the

District Court’s Temporary Restraining Order entered on November 29, 2020

(“TRO Order”), which granted in part and denied in part Plaintiffs’ requested

emergency relief. (Doc. 14).

      Plaintiffs filed a notice of appeal of the TRO Order on December 1, 2020.

(Doc. 32). It is State Defendants’ position that the Court of Appeals lacks jurisdiction

to review the TRO Order under 28 U.S.C. 1292(a), as the District Court has noted.

(Doc. 37) (“[T]his Court is of the opinion that its November 29 order is not within

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the scope of Schiavo [ex rel. Schindler v. Schiavo]’s exception to the unappealable

nature of a temporary restraining order.”). However, in the event that the Court of

Appeals determines otherwise, the Court of Appeals should address the cross-appeal,

which will argue that the partial TRO should be reversed and vacated.

      Respectfully submitted, this 3d day of December, 2020.


                                      /s/ Charlene S. McGowan
                                      CHARLENE S. MCGOWAN 697316
                                      Assistant Attorney General

                                      Office of the Georgia Attorney General
                                      40 Capitol Square SW
                                      Atlanta, GA 30334
                                      cmcgowan@law.ga.gov
                                      Tel: 404-458-3658

                                      Counsel for State Defendants




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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing has been formatted using Times New

Roman font in 14-point type in compliance with Local Rule 7.1(D).

                                     /s/Charlene S. McGowan
                                     Charlene S. McGowan
                                     Assistant Attorney General




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                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing NOTICE

OF PROTECTIVE CROSS-APPEAL with the Clerk of Court using the CM/ECF

system, which will send notification of such filing to counsel for the parties of record

via electronic notification.

      Dated: December 3, 2020.

                                        /s/ Charlene S. McGowan
                                        Charlene S. McGowan
                                        Assistant Attorney General




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